
PER CURIAM.
AFFIRMED. See Mankap Enterprises, Inc. v. Wells Fargo Alarm Services, 427 So.2d 332 (Fla. 3d DCA 1983); Continental Video Corp. v. Honeywell, Inc., 422 So.2d 35 (Fla. 3d DCA 1982) review denied 456 So.2d 892 (Fla.1984); Ace Formal Wear, Inc. v. Baker Protective Service, Inc., 416 So.2d 8 (Fla. 3d DCA 1982); L. Luria &amp; Son, Inc. v. Alarmtec International Corp., 384 So.2d 947 (Fla. 4th DCA 1980).
BOOTH, JOANOS and PADOVANO, JJ., concur.
